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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

E.I. DU PONT DE NEMOURS AND                           §
COMPANY,                                              §
                                                      §
        Plaintiff,                                    §
                                                      §
v.                                                    §                 EP-12-CA-351-FM
                                                      §
KOLON GLOTECH U.S.A., CORP.                           §
                                                      §
        Defendant.                                    §


                                     ORDER TO SHOW CAUSE

        On this day, the court considered the above-captioned cause. Upon review of this matter, the

court notes that the above-captioned cause was filed on August 31, 2012 as a garnishment action, and a

writ of garnishment was issued as to Kolon Glotech U.S.A., Corp. on September 21, 2012.

        On October 24, 2012, Kolon Glotech U.S.A., Corp. filed its original answer certifying that it did

not owe any debt to Kolon Industries, Inc. a/k/a Kolon Corporation. There has been no activity in this

case since the filing of that document [ECF No. 6].

        Accordingly, it is ORDERED that Plaintiff/Garnishor E. I. Du Pont de Nemours and Company

SHOW CAUSE by March 15, 2013 why this action should not be dismissed pursuant to Federal Rule of

Civil Procedure 41.

        SIGNED this 6th day of March, 2013.



                                                          ______________________________________
                                                          FRANK MONTALVO
                                                          UNITED STATES DISTRICT JUDGE
